Case 2:19-cv-08612-PSG-JC Document 157-11 Filed 09/14/20 Page 1 of 3 Page ID
                                 #:3058




                              Exhibit 8
                                   FHC0906
      Case 2:19-cv-08612-PSG-JC Document 157-11 Filed 09/14/20 Page 2 of 3 Page ID
                                       #:3059




)URPM L PHLOLQJ#\DKRRFRP!
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Good Sunday Sharon & Odion ...

)RUJRWWRPHQWLRQWKDW LQDGGLWLRQWR -RKQ5HOPDQWHOOLQJ6FRWW0RRUHDQGPHWKDWKH ZDV “proud” WR
EHSDUWRIWKH 6W3DXOHYHQWVWRDFKLHYHWKHLU “GLVSDUDWHLPSDFW” DJHQGD -RKQZDVKDYLQJEDFN
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FDVH  KH RGGO\FRQFHGHG WR6FRWWWKDWKHZDVQRZ “QRWJRLQJWRZRUU\DERXWZDLYHUFRQIOLFWVRI
LQWHUHVW”

,WWRRNDORWRISUD\LQJDVNLQJIRU+LV/LJKWDQG:LVGRPWRUHYHDODQVZHUVVXFKDV DERXWZKDW
RWKHU 5'&OHYHUDJLQJWDFWLFV ZHUHLQWKHZRUNV? ,WEHFDPH PRUHFOHDUWKDW5'&ZDV OHVVFRQFHUQHG
DERXW P\SRVLWLRQRQFRQIOLFWVEHWZHHQ “XV)&$FRUHODWRUV”  EXW5'& V JUHDWHUFRQFHUQVDERXW
EHLQJH[SRVHGUHJDUGLQJWKHLUFRQIOLFWV “WR XVFOLHQWV” LQWKHLUOHYHUDJLQJRXWRXU )&$LQWHUHVWV to our
material disadvantageOLNHWKHPHWKRGRORJLHV XVHGZKHQ VDERWDJLQJWKHLU )&$FOLHQW)UHGULFN1HZHOO
WRDFFRPSOLVKWKHLUFKHVVJDPHDJHQGDVWKURXJKPHHWLQJVZLWKWKH&LW\’VWRSDGPLQLVWUDWRUV OLNH
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WKH VHDO”SODFHVTXHVWLRQVRQ what else KDV5'& GRQH ZLWKRXW RXU NQRZOHGJHFRQVHQWWRRXU
PDWHULDOGLVDGYDQWDJHJ WKURXJKJ LWVGHFHLWIXO XQDXWKRUL]HG “JOREDOVHWWOHPHQW”
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LQWHUHVW LHLQFHQWLYL]HG WKURXJKWKHEDQNLQJUHODWHGPDUNHWQLFKH

+DYLQJEHHQDVVLVWLQJ)UHGULFN1HZHOOIRUVRPHWLPHDQGLQVWLQFWLYHO\NQRZLQJ DVLPLODUSUDFWLFHPXVW
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*RG:LOO5HVWRUH@ 1RGRXEWKHSODQQHGRXUOLYHVEHIRUHZH ZHUHHYHQERUQ 2XUURDGVLQWHUVHFWLQJ
DJDLQKDVEHHQDOO+LVWLPLQJ  DQGQRZ+LVVLJQDO+H NQRZVZHKDYHVHSDUDWHO\EHHQIDLWKIXODQG
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       Case 2:19-cv-08612-PSG-JC Document 157-11 Filed 09/14/20 Page 3 of 3 Page ID
                                               #:3060
mission. And thank you Odion for being His messenger. It took a little while, but I figured it
out !! Guess He had to separately test our strength, our individual faith that if we serve Him, He
delivers on His promise. What testimonies we have!! Still much work to be done ... but so blessed to
serve and stand in His Light.

Will call later ... and about the attachment herein.
Mei Ling

Also ... this below delay is to give RDC more time to strategize another tactic with the City to
leverage the FCA case knowing we do not want them present and ... using John, Michael & Jennifer’s
(who I oppose being in the FCA case period) “availability” as excuses ... which could be
endless. The only legal way for Lisa to be able to limit the attendance, is with FHC’s client instruction
that RDC will not to be included in a meeting, and FHC will be in attendance only with Odion. See
below with how Scott notified Lisa. I sent my instructions to John and Michael twice. Even if
I sent them a 3rd one, they can still ignore it saying they need to be included to represent co-relator
FHC’s interest - unless they also receive FHC’s written instructions that they will not be included. So,
just a friendly reminder of the importance. After that is done, Scott and Odion can go back to Lisa to
inform her that it will just be the four of us ... so we can ask her to put us on calendar for Sept. 27th or
28th. If David O. can make his calendar available for either of these dates - great. Let’s not limit our
window by giving Lisa only one day - but instead give her the choice of Sept. 27th or 28th. Am pretty
certain her Washington D.C. DOJ upline Eric Sulmelzer - will likely be participating by conference line
anyway.
                     Date: Friday, September 16, 2016 at 22:22:20 +0000
                     From: Palombo, Lisa (USACAC) <Lisa.Palombo@usdoj.Gov>
                     To:     Michael Allen <MAllen@RelmanLaw.com>; Jennifer Klar <JKlar@RelmanLaw.com>;
                     John Relman <JRelman@RelmanLaw.com>; Scott P.
                     Moore <SPMoore@BairdHolm.com>; Odion Okojie <OkojieLaw@aol.com>; David
                     Iyalomhe <David@doialaw.com>
                     Cc:      Schmelzer, Eric (CIV) <Eric.Schmelzer@usdoj.Gov>
                     Subject: Availability October 3 - 28  ... we need to stop this stalling to get answers!
                            Again we were unable to find a single day that works for
                            everyone. Please check your schedules for the month of October and let
                            me know when you, and your client if you choose to bring a client, can be
                            available for a meeting. The earlier you are able to respond the sooner
                            we will be able to pencil in a date that works for all. Thanks for your
                            prompt replies.

                            Lisa

                             - - - Forwarded Message - - -
                            Sent:     Wednesday, September 14, 2016 4:26 PM
                            From: Scott P. Moore <SPMoore@BairdHolm.com>
                            To:       Palombo, Lisa (USACAC) <Lisa.Palombo@usdoj.Gov>; Schmelzer, Eric
                            (CIV) <Eric.Schmelzer@usdoj.Gov>
                            Subject: RE: Update

                            Lisa,

                            My client and I are available September 27th or 28th. My understanding
                            from my client is that only she and I will be present representing her
                            interests at this meeting.

                            Thanks,

                                                                                                         FHC0907
